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             4
                  Attorneys for Plaintiffs WELLS FARGO BANK, N.A., as Trustee
             5    for (i) the Registered Holders of GE Commercial Mortgage
                  Corporation Commercial Mortgage Pass-Through Certificates,
             6    Series 2005-C4; (ii) the Registered Holders of GMAC Commercial
                  Mortgage Securities, Inc., Mortgage Pass-Through Certificates,
             7    Series 2006-C1; and (iii) the Holders of COMM 2005-FL11
                  Commercial Mortgage Pass-Through Certificates, acting by and
             8    through CWCapital Asset Management, LLC, its Special Servicer

             9                                  UNITED STATES DISTRICT COURT

             10                                NORTHERN DISTRICT OF CALIFORNIA

             11   WELLS FARGO BANK, N.A.,                            CASE NO.       CV 10-3493 EMC xxx
                  as Trustee, etc.,
             12                                                      ORDER GRANTING MOTION FOR
                                 Plaintiffs,                         ORDERS:
             13
                            v.                                       (1)   APPROVING OF RECEIVER'S FINAL
             14                                                            ACCOUNTING;
                  DDR MDT MV ANAHEIM HILLS LP, etc.,                 (2)   APPROVING OF RECEIVER'S FINAL
             15   et al.,                                                  FEES AND EXPENSES;
                                                                     (3)   DISCHARGING RECEIVER;
             16                  Defendant.                          (4)   EXONERATING RECEIVER'S BOND;
                                                                     (5)   APPROVING TURNOVER OF BOND;
             17                                                      (6)   RATIFYING ACTS OF RECEIVER
             18                                                      Date: February 28, 2013
                                                                     Time: 1:30 p.m.
             19                                                      Place: 450 Golden Gate Avenue
                                                                            San Francisco, California
             20                                                             Courtroom 5, 17th Floor

             21

             22                  The Motion of Plaintiffs Wells Fargo Bank, N.A., as Trustee for (i) the Registered

             23   Holders of GE Commercial Mortgage Corporation Commercial Mortgage Pass-Through

             24   Certificates, Series 2005-C4; (ii) the Registered Holders of GMAC Commercial Mortgage

             25   Securities, Inc., Mortgage Pass-Through Certificates, Series 2006-C1; and (iii) the Holders of

             26   COMM 2005-FL11 Commercial Mortgage Pass-Through Certificates, acting by and through

             27   CWCapital Asset Management, LLC, its Special Servicer for Orders (collectively, the "Trust" or

             28   "Plaintiffs"): (1) Approving of Receiver's Final Accounting; (2) Approving of Receiver's Final Fees
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             1    And Expenses; (3) Discharging Receiver; (4) Exonerating Receiver's Bond; (5) Approving

             2    Turnover of Receivership Funds; and (6) Ratifying Acts of Receiver (the "Motion") came on

             3    regularly for hearing on February 28, 2013 in the above-entitled Court. Appearances were as noted

             4    in the Record.

             5                     This Court, having considered the pleadings and papers timely filed herein, the oral

             6    argument of the parties, and the Supplemental Declaration of William Hoffman subsequently filed

             7    in support of the Motion on March 13, 2013, and all parties listed on the Proof of Service of the

             8    Motion filed concurrently herewith having received due and proper notice of the Motion and good

             9    cause appearing therefor:

             10                    IT IS HEREBY ORDERED AS FOLLOWS:

             11                    1.     The Final Accounting (as that term is defined in the Motion) is hereby

             12   ratified and approved in all respects.

             13                    2.     The Receiver's compensation, fees and expenses in an amount of $62,103.75

             14   and $102,002.48 for fees and expenses, respectively, incurred from August 24, 2010 through and

             15   including December 31, 2012 as set forth in the Final Accounting and the declaration of William

             16   Hoffman filed in support of the Motion, are hereby ratified and approved in all respects.

             17                    3.     William Hoffman shall be discharged as Receiver.

             18                    4.     The undertaking filed by the Receiver in the above-entitled action on
             19   August 26, 2010 in the amount of $300,000.00, issued by Hartford First Insurance Company, shall

             20   be exonerated.

             21                    5.     The Receiver shall be relieved from any liability to all owners and tenants

             22   located at the real property and improvements thereon (collectively, the Real Properties") with

             23   respect to the Real Properties described in Schedule A attached hereto and incorporated by this

             24   references as though set forth in full.

             25                    6.     The Receiver will turn over to the Trust all funds remaining in the

             26   receivership estate, if any, which remain in his possession, on or before 10 calendar days have

             27   elapsed from the date of the filing of this Order.

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             1                     7.      The Receiver shall have no responsibility for filing federal or state income

             2    tax returns or federal or state payroll tax returns and shall not be responsible for paying any unpaid

             3    federal and state payroll taxes and expenses of the Defendants. The responsibility of such filings

             4    and payments lie exclusively with the Defendants and their agents, servants, employees and

             5    representatives.

             6                     8.      The acts, transactions, forbearances and decisions of the Receiver and/or his

             7    agents and representatives, are approved and were appropriate and were in the best interest of the

             8    receivership estate and the parties to the above entitled action and are ratified.

             9                     9.      The Receiver shall (i) have no obligation or further liability, responsibility for

             10   any assets of the receivership estate or any claims or rights which may arise in connection with

             11   those assets, and (ii) have no further liability or obligation to the Trust or any of the persons or

             12   entities identified in Exhibit 1 to the Notice of Motion, except as expressly set forth in this Order.

             13                                                                       ISTRIC
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                  The Clerk of the Court is directed to close this case.
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             15   DATED:         3/29/13




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                                                                                ORDER JUDGE
                                                                     UNIT




                                                                 UNITED STATES DISTRICT
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             18                                                                    Judge E                       FO
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             1

             2                                          SCHEDULE A
             3
                                          Borrower      Store No.         Real Property Address
             4

             5                   DDR MDT MV                         8100 East Santa Ana Canyon Blvd.
                                                          266
                                 Anaheim Hills LP                   Anaheim, CA
             6
                                 DDR MDT MV                         2602 Somersville Rd.
             7                   Antioch LP
                                                          011
                                                                    Antioch, CA

             8
                                 DDR MDT MV                         2345 East Magnolia Blvd.
                                                          236
             9                   Burbank LP                         Burbank, CA

             10                  DDR MDT MV                         2994 North Alma School Rd.
                                                          154
                                 Chandler LLC                       Chandler, AZ
             11

             12                  DDR MDT MV                         5517 Philadelphia St.
                                                          184
                                 Chino LP                           Chino, CA
             13
                                 DDR MDT MV                         1000 Shaw Ave.
                                                          216
             14                  Clovis LP                          Clovis, CA

             15
                                 DDR MDT MV                         4255 W. Thunderbird Rd.
                                                          055
                                 Deer Valley LLC                    Phoenix, AZ
             16

             17                  DDR MDT MV
                                                          320
                                                                    1010 East Bidwell St.
                                 Folsom LP                          Folsom, CA
             18
                                 DDR MDT MV                         26732 Portola Pkwy.
             19                                           291
                                 Foothill Ranch LP                  Foothill Ranch, CA

             20
                                 DDR MDT MV                         13092 Harbor Blvd.
                                                          085
             21                  Garden Grove LP                    Garden Grove, CA

             22                  DDR MDT MV                         6157 Northwest Loop 410
                                                          140
                                 Ingram LP                          San Antonio, TX
             23
                                 DDR MDT MV                         1600 North H St.
             24                                           264
                                 Lompoc LP                          Lompoc, CA
             25
                                 DDR MDT MV                         1467 Country Club Dr.
                                                          232
             26                  Madera LP                          Madera, CA

             27                  DDR MDT MV                         200 Imperial Hwy.
                                                          249
                                 North Fullerton I LP               Fullerton, CA
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             1
                                          Borrower          Store No.         Real Property Address
             2

             3                   DDR MDT MV                             1305 West Rancho Vista Blvd.
                                                              265
                                 Palmdale LP                            Palmdale, CA
             4
                                 DDR MDT MV                             1755 Hilltop Dr.
             5                   Redding LP
                                                              124
                                                                        Redding, CA

             6
                                 DDR MDT MV                             6895 Sierra Center Pkwy.
                                                              318
             7                   Reno LLC                               Reno, NV

             8                   DDR MDT MV                             201 Towncenter West
                                                              219
                                 Santa Maria, LP                        Santa Maria, CA
             9

             10                  DDR MDT MV                             600 Santa Rosa Plaza
                                                              034
                                 Santa Rosa LP                          Santa Rosa, CA
             11
                                 DDR MDT MV                             5849 Lone Tree Way
                                                              321
             12                  Slatten Ranch LP                       Antioch, CA

             13
                                 DDR MDT MV                             1151 Sanguinetti Rd.
                                                              283
                                 Sonora LP                              Sonora, CA
             14

             15                  DDR MDT MV
                                                              234
                                                                        6555 East Southern Ave.
                                 Superstition Springs LLC               Mesa, AZ
             16
                                 DDR MDT MV                             3660 South 16th St.
             17                                               103
                                 Tucson LLC                             Tucson, AZ

             18
                                 DDR MDT MV                             1675 Hillman St.
                                                              250
             19                  Tulare LP                              Tulare, CA

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